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 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:12-CR-00184-AWI-BAM-2

12                                Plaintiff,            ORDER DENYING DEFENDANT’S MOTION
                                                        PURSUANT TO TITLE 18 U.S.C. § 3582(c)(2)
13                         v.

14   DAVID ARREOLA,

15                               Defendant.

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17          The defendant has filed a motion seeking appointment of counsel to file a motion under 18

18 U.S.C. § 3582(c)(2). The Court construes the defendant’s motion as motion for reduction in his sentence

19 on the basis of Amendment 782 to the Sentencing Guidelines which revises the Drug Quantity Table in

20 USSG § 2D1.1 and reduces by two levels the offense level applicable to many drug trafficking offenses.

21 The defendant was sentenced based on the amended Sentencing Guidelines. The Court will deny the

22 defendant’s motion.

23          Section 3582(c)(2) authorizes district courts to modify an imposed sentence “in the case of a

24 defendant who has been sentenced to a term of imprisonment based on a sentencing range that has

25 subsequently been lowered by the Sentencing Commission.” United States v. Dunn, 728 F.3d 1151,

26 1155 (9th Cir. 2013). Effective November 1, 2014, the Commission promulgated Amendment 782,
27 which generally revised the Drug Quantity Table and chemical quantity tables across drug and chemical

28 types. The Commission also voted to make Amendment 782 retroactively applicable to previously

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          Case 1:12-cr-00184-DAD-BAM Document 155 Filed 11/17/15 Page 2 of 2

 1 sentenced defendants.

 2          The defendant was convicted and sentenced in 2015 using the 2014 edition of the Sentencing

 3 Guidelines. The drug quantity finding in this case was that the defendant was responsible for 904.9

 4 kilograms of marijuana. That drug quantity yielded a base offense level of 28. See U.S.S.G.

 5 § 2D1.1(c)(1) (2014). The sentencing range applicable to the defendant has not been subsequently

 6 lowered by the United States Sentencing Commission by Amendment 782, because the defendant was

 7 sentenced, in the first instance, pursuant to Amendment 782. The defendant’s base offense level

 8 remains level 28. See U.S.S.G. § 2D1.1(c)(6). The defendant is not eligible for a reduction in sentence.

 9 U.S.S.G. § 1B1.10(b)(2).

10          IT IS HEREBY ORDERED that the defendant’s motion for a reduction in sentence is DENIED.

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     IT IS SO ORDERED.
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14 Dated: November 16, 2015
                                               SENIOR DISTRICT JUDGE
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